Case 2:24-cv-04055-JXN-LDW Document 49-1 Filed 06/07/24 Page 1 of 4 PageID: 338




 Liza M. Walsh
 WALSH PIZZI O’REILLY FALANGA LLP
 Three Gateway Center
 100 Mulberry Street, 15th Floor
 Newark, N.J. 07102
 Tel.: (973) 757-1100

 Attorney for Defendant Apple Inc.

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES, et al.,                                        Case No. 2:24-cv-04055
                                                                    (JXN-LDW)
                       Plaintiffs,
                                                                DECLARATION OF
        v.                                                    MATTHEW J. REILLY IN
                                                             SUPPORT OF PRO HAC VICE
 APPLE INC.,                                                       ADMISSION

                       Defendant.                                 Filed Electronically


        I, Matthew J. Reilly, of full age, hereby certify:

        1.      I am a partner with the law firm of Kirkland & Ellis LLP, attorneys for Defendant

 Apple Inc. in this matter. I respectfully submit this Declaration in support of my application for

 admission pro hac vice pursuant to Local Civil Rule 101.1(c).

        2.      I was admitted to the bar of the District of Columbia in 1999.           The office

 maintaining the roll of members for the District of Columbia bar is the District of Columbia Bar,

 901 4th Street, N.W., Washington, DC 20001.

        3.      I was admitted to the bar of the United States Court of Appeals for the Fourth

 Circuit in 2002. The office maintaining the roll of members for the United States Court of

 Appeals for the Fourth Circuit bar is the Office of the Clerk, United States Court of Appeals for
Case 2:24-cv-04055-JXN-LDW Document 49-1 Filed 06/07/24 Page 2 of 4 PageID: 339




 the Fourth Circuit, Lewis F. Powell, Jr. United States Courthouse Annex, 1100 East Main Street,

 Suite 501, Richmond, VA 23219.

        4.      I was admitted to the bar of the Supreme Court of the United States in 2012. The

 office maintaining the roll of members for the Supreme Court of the United States is the Office

 of the Clerk, Supreme Court of the United States, 1 First Street, N.E., Washington, DC 20543.

        5.      I was admitted to the bar of the United States District Court for the Eastern

 District of Michigan in 2013. The office maintaining the roll of members for the United States

 District Court for the Eastern District of Michigan bar is the Clerk’s Office, United States

 District Court for the Eastern District of Michigan, Theodore Levin U.S. Courthouse, 231 W.

 Lafayette Blvd., Room 599, Detroit, MI 48226.

        6.      I was admitted to the bar of the United States District Court for the District of

 Columbia in 2016. The office maintaining the roll of members for the United States District

 Court for the District of Columbia bar is the United States District Court for the District of

 Columbia, 333 Constitution Avenue, N.W., Washington, DC 20001.

        7.      I am a member in good standing with the following bars:          the District of

 Columbia, the United States Court of Appeals for the Fourth Circuit, the Supreme Court of the

 United States, the United States District Court for the Eastern District of Michigan, and the

 United States District Court for the District of Columbia. There are no disciplinary proceedings

 pending against me, and no discipline has previously been imposed on me in any jurisdiction. I

 understand my continuing obligation during the period of my admission to advise the Court of

 any disciplinary proceedings that may be instituted against me.

        8.      I am ineligible for plenary admission to the bar of this Court pursuant to Local

 Civil Rule 101.1(b).




                                                 2
Case 2:24-cv-04055-JXN-LDW Document 49-1 Filed 06/07/24 Page 3 of 4 PageID: 340




           9.     I am willing to submit to the jurisdiction of this Court and to comply with all of

 its rules and procedures. To ensure my familiarity with these regulations, I have reviewed the

 Local Rules of this Court.

           10.    The issues raised in this litigation involve areas with which I have experience in

 the law.

           11.    Pursuant to the rules of this Court, all pleadings submitted on behalf of Defendant

 in this litigation will be signed by Walsh Pizzi O’Reilly Falanga LLP, attorneys of record for

 Defendant.

           12.    I agree to strictly observe the dates fixed for scheduling conferences, motions,

 briefs, pre-trial conferences, trial, and all other proceedings. I further agree to submit to the

 jurisdiction of this Court for the purposes of sanctions, discipline, or other such action as the

 Court may deem proper.

           13.    Pursuant to Local Civil Rule 101.1(c)(2), I agree to pay the annual fee required by

 the New Jersey Lawyers’ Fund for Client Protection in accordance with New Jersey Court Rule

 1:28-2.

           14.    Pursuant to Local Civil Rule 101.1(c)(3), I agree to make the required payment of

 $250.00 to the Clerk of the United States District Court for the District of New Jersey.

           15.    In light of the foregoing, I respectfully request that I be admitted pro hac vice for

 the purpose of representing Defendant in this matter in association with New Jersey counsel. I

 agree to be bound by the rules governing practice in New Jersey Courts as required by Local

 Civil Rule 101.1.

           I declare under penalty of perjury that the foregoing is true and correct.




                                                     3
Case 2:24-cv-04055-JXN-LDW Document 49-1 Filed 06/07/24 Page 4 of 4 PageID: 341




 Dated: June 7, 2024                _____________________
                                    Matthew J. Reilly




                                       4
